

Matter of Satta (2025 NY Slip Op 01550)





Matter of Satta


2025 NY Slip Op 01550


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, MONTOUR, GREENWOOD, AND HANNAH, JJ. (Filed Mar. 3, 2025.)


&amp;em;

[*1]MATTER OF MARK RONALD SATTA, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








